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      Attorneys for Defendant,
6     CREDIT CORP SOLUTIONS, INC.

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8                                  UNITED STATES DISTRICT COURT
9                                CENTRAL DISTRICT OF CALIFORNIA
10

11    MICHELLE STROUT,                           Case No. 12:15-CV-08666
12
                             Plaintiff,           NOTICE OF SETTLEMENT
13    v.

14
      CREDIT CORP SOLUTIONS, INC.,
15
                            Defendant.
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20
      TO THE COURT, PARTIES AND THEIR ATTORNEYS OF RECORD:
21
                     PLEASE TAKE NOTICE that Defendant CREDIT CORP SOLUTIONS, INC.
22
      and Plaintiff MICHELLE STROUT have agreed to settle the above-entitled matter.
23
      The parties anticipate that they will complete the settlement and file a stipulation of
24
      dismissal with prejudice as to Plaintiff within 45 days from the date of this Notice.
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      {00041864;1}


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                                           NOTICE OF SETTLEMENT
     Case 2:15-cv-08666-FMO-JEM Document 18 Filed 12/15/15 Page 2 of 3 Page ID #:60




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                     In light of the settlement, the Parties respectfully request that the Court vacate all

2     pending dates in this case.
3
                                                      LAW OFFICES OF TODD M. FRIEDMAN, P.C.
4

5     Dated: December 15, 2015                        s/ Adrian R. Bacon
                                                      Todd M. Friedman
6                                                     Adrian R. Bacon
7
                                                      Attorneys for Plaintiff,
                                                      MICHELL STROUT
8
                                                      CARLSON & MESSER LLP
9

10
      Dated: December 15, 2015                        s/ David J. Kaminski____
                                                      David J. Kaminski, Esq.
11                                                    Stephen A. Watkins, Esq.
                                                      Attorneys for Defendant,
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                                                      CREDIT CORP SOLUTIONS, INC.
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                                                    NOTICE OF SETTLEMENT
     Case 2:15-cv-08666-FMO-JEM Document 18 Filed 12/15/15 Page 3 of 3 Page ID #:61




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                             ATTESTATION AND CERTIFICATE OF SERVICE
2                    I, David J. Kaminski, am the ECF user whose identification and password are
3     being used to file the Notice of Settlement. Pursuant to Civil Local Rule 5-1(i)(3), I
4     hereby attest that all counsel whose electronic signatures in the Notice of Settlement
5     provided their authority and concurrence to file that document.
6

7                                                   CARLSON & MESSER LLP
8
      Dated: December 15, 2015                      s/ David J. Kaminski____
9                                                   David J. Kaminski, Esq.
                                                    Stephen A. Watkins, Esq.
10                                                  Attorneys for Defendant,
                                                    CREDIT CORP SOLUTIONS, INC.
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                                                 NOTICE OF SETTLEMENT
